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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )
                        Plaintiff,           )                   4:08CR3178
                                             )
               v.                            )
                                             )         MEMORANDUM AND ORDER
LATRAIL L. TAYLOR,                           )
                                             )
                        Defendant.           )



         On September 16, 2010, the defendant moved to continue his trial, (filing no.134),
which was scheduled to commence on September 20, 2010. To provide immediate notice
to all parties and the trial judge, a te xt order was entered on September 16, 2010 which
continued the trial to November 1, 2010 and excluded the time between September 16, 2010
and November 1 , 2 010 for Speedy Trial Act purposes.            However, due to computer
difficulties, the undersigned magistrate judge was unable to create a written order explaining
why the time to trial should be excluded under the Speedy Trial Act. This memorandum and
order supplements the text order entered yesterday.


         New counsel was recently appointed to represent the defendant, and defendant’s new
counsel entered his appearance for the defendant on September 15, 2010. Defense counsel
and the defendant therefore need additional time to review this case together and prepare for
trial.


         Accordingly,


         1)    The trial of this case is set to commence before the district judge at 9:00 a.m.
               on November 1, 2010 for a duration of five trial days. Jury selection will be
               at the commencement of trial.
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     2)     Based upon the s ho wing set forth in the defendant’s motion and the
            representations of his counsel, the Court further finds the ends of justice will
            be served by continuing the trial; and the pur po s e s served by continuing the
            trial date in this case outweigh the interest of the defendant and the public in
            a speedy trial. Accordingly, the time betwe e n September 16, 2010 and
            November 1, 2010 shall be excluded for speedy trial calculation purposes. 18
            U.S.C. § 3161(h)(7).

     Dates this 17 th day of September, 2010.

                                                BY THE COURT:

                                                s/ Cheryl R. Zwart
                                                United States Magistrate Judge




                                            2
